                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

 IN RE: GENERIC PHARMACEUTICALS
 PRICING ANTITRUST LITIGATION                     MDL No. 2724
                                                  16-MD-2724

 THIS DOCUMENT RELATES TO:
                                                  HON. CYNTHIA M. RUFE
 ALL ACTIONS


                                            ORDER

       AND NOW, this 14th day of February 2024, upon consideration of Special Master

Lawrence F. Stengel’s Third Formal Report and Recommendation (“Third R&R”), filed on

January 12, 2024 [MDL Doc. No. 2773], and no timely objections having been filed thereto by

any party, it is hereby ORDERED that the Third R&R is APPROVED and ADOPTED. It is

further ORDERED that Plaintiff State of Louisiana shall comply with RFP 68 by February 26,

2024, or the Court will entertain a motion from Defendants for sanctions.

       It is so ORDERED.


                                                    BY THE COURT:

                                                     /s/ Cynthia M. Rufe
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                                                    CYNTHIA M. RUFE, J.
